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                                    STATEMENT OF FACTS

        1.      I am a Special Agent of the Federal Bureau of Investigation (FBI) currently

assigned to the Denver Division, Grand Junction Resident Agency. As such, I am an investigative

or law enforcement agent of the United States authorized under Title 18, United States Code,

Section 3052, that is, an officer of the United States who is empowered by law to conduct

investigations, to make arrests, and to collect evidence for various violations of federal law. I have

been employed as a Special Agent of the FBI since February 2004.

        2.      I have experience in conducting investigations involving financial fraud, public

corruption, drug trafficking, violent crimes, gangs, crimes aboard aircraft, cyber-related matters,

and and other violations of federal law. Through my experience and training, I have become

familiar with activities of individuals engaged in illegal activities, to include their techniques,

methods, language, and terms.

        3.      Currently, I am tasked with investigating criminal activity in and around the U.S.

Capitol grounds on January 6, 2021.

        4.      This affidavit is being submitted for the limited purpose of securing a Criminal

Complaint and Arrest Warrant. I have not included each and every fact known to me concerning

this investigation. I have set forth facts that I believe are necessary to establish probable cause to

believe that violations of federal law have been committed.

        5.      The information contained within the affidavit is based on my training and

experience, as well as information imparted to me by other law enforcement officers involved in

this investigation.




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                                          Background

       6.      The U.S. Capitol is secured 24 hours a day by U.S. Capitol Police. Restrictions

around the U.S. Capitol include permanent and temporary security barriers and posts manned by

U.S. Capitol Police. Only authorized people with appropriate identification were allowed access

inside the U.S. Capitol. On January 6, 2021, the exterior plaza of the U.S. Capitol was also

closed to members of the public.

       7.      On January 6, 2021, a joint session of the United States Congress convened at the

United States Capitol, which is located at First Street, SE, in Washington, D.C. During the joint

session, elected members of the United States House of Representatives and the United States

Senate were meeting in separate chambers of the United States Capitol to certify the vote count

of the Electoral College of the 2020 Presidential Election, which had taken place on November

3, 2020. The joint session began at approximately 1:00 p.m. Shortly thereafter, by approximately

1:30 p.m., the House and Senate adjourned to separate chambers to resolve a particular objection.

Vice President Mike Pence was present and presiding, first in the joint session, and then in the

Senate chamber.

       8.      As the proceedings continued in both the House and the Senate, and with Vice

President Mike Pence present and presiding over the Senate, a large crowd gathered outside the

U.S. Capitol. As noted above, temporary and permanent barricades were in place around the

exterior of the U.S. Capitol building, and U.S. Capitol Police were present and attempting to

keep the crowd away from the Capitol building and the proceedings underway inside.

       9.      At such time, the certification proceedings were still underway and the exterior

doors and windows of the U.S. Capitol were locked or otherwise secured. Members of the U.S.

Capitol Police attempted to maintain order and keep the crowd from entering the Capitol;



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however, around 2:00 p.m., individuals in the crowd forced entry into the U.S. Capitol, including

by breaking windows and by assaulting members of the U.S. Capitol Police, as others in the

crowd encouraged and assisted those acts.

       10.     Shortly thereafter, at approximately 2:20 p.m. members of the United States

House of Representatives and United States Senate, including the President of the Senate, Vice

President Mike Pence, were instructed to—and did—evacuate the chambers. Accordingly, the

joint session of the United States Congress was effectively suspended until shortly after 8:00

p.m. Vice President Pence remained in the United States Capitol from the time he was evacuated

from the Senate Chamber until the sessions resumed.

       11.     During national news coverage of the aforementioned events, video footage

which appeared to be captured on mobile devices of persons present on the scene depicted

evidence of violations of local and federal law, including scores of individuals inside the U.S.

Capitol building without authority to be there.

             Avery MacCracken’s Participation in the Events of January 6, 2021

       12.     During the course of the investigation into the events of January 6, 2021, law

enforcement obtained video and photographic footage capturing the events at the Capitol.

Among the individuals in the footage was a white male who was observed in

physical altercations with uniformed police officers on the U.S. Capitol grounds. The identity of

the individual was initially unknown and was labeled as AFO-387, for cataloguing purposes. A

photograph of the individual identified as AFO-387 is below:




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                                           Photo 1: AFO-387

        13.    The FBI published the photo of AFO-387 on its public website in an effort to

identify the individual. As detailed below, several members of the public provided information

regarding the identity of the person depicted in AFO-387.

        14.    Telluride, Colorado is a small, mountain town situated in the high Rocky

Mountains of western Colorado. Due to its small population and tight-knit community, the

majority of the local residents are known to eachother. Furthermore, local law enforcement in the

town is comprised of the Telluride Marshal’s Office (TMO) and the San Miguel County Sheriff’s

Office (SMCSO), both relatively small agencies. Deputies of TMO and SMCSO are very

familiar with the local resident population, especially with those that they have frequent contact

with.

        15.    Tipster-1, a local Telluride resident, contacted Sheriff Bill Masters of SMCSO in

Telluride, Colorado to report that after he/she reviewed images from the public FBI website as

well as another public website, called the Sedition Hunters (www.seditionhunters.org/387-afo-

covereddragon/), he/she recognized the identity of the individual depicted in AFO-387. Tipster-1



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advised that the individual on the FBI and Sedition Hunters websites under the AFO-387

identifier appeared to be Avery MacCracken, whom he/she recognized from the community.

         16.   Tipster-1 did not make his/her identification based on the photograph posted to

the FBI website alone, but based its identification on additional images of the individual depicted

in AFO-387 that included pictures where the individual’s face was not obstructed (these images

were not posted by the FBI, but were publicly posted on the Sedition Hunters website).

         17.   In reviewing the images from the Internet pages that Tipster-1 provided, Sheriff

Masters separately recognized the male individual and identified him as Avery MacCracken.

Sheriff Masters has been in law enforcement in Telluride for more than 40 years. He has known

Avery MacCracken to reside in the Telluride area on and off for most of that time period as well.

As such, Sheriff Masters knows MacCracken extremely well, with numerous and frequent

contacts by himself personally, and by his deputies. Sheriff Masters made particular note that

MacCracken, as a resident of the community, is oftentimes homeless and lives out of his vehicle.

He further explained he has seen MacCracken dressed in the very same clothes on multiple

occasions in Telluride, as depicted in the FBI and Sedition Hunters websites. Sheriff Masters

also noted that one picture of the subject on the Sedition Hunters website depicts the subject

standing on the sidewalk in front of two buildings. He recognized the doors to the New Sheridan

Bar and next to it, the San Miguel County Courthouse, located on the downtown street in

Telluride, Colorado. The picture referenced by Sheriff Masters is on the far right of the image

below:




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                         Photo 2 - https://seditionhunters.org/387-afo-covereddragon/

       18.     I captured a photo of the same downtown area in Telluride from an open source

mapping website for comparison purposes. I have also been to Telluride many times in my

official and personal capacities and am familiar with the buildings referenced.




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                 Photo 3 - Google maps - street view of Colorado Avenue in downtown Telluride, CO

       19.    Another response to the FBI’s wanted page and Sedition Hunters photos came

from Chief Marshal Josh Comte, Telluride Marshal’s Office. Chief Comte reviewed both the

photos from the FBI website, as well as the Sedition Hunters website, and compared them to

each other. He stated that he recognized the subject as a man named Avery MacCracken, a

member of the Telluride community. Deputies of the Telluride Marshal’s Office have had

numerous interactions with MacCracken, including Chief Comte dealing personally with him.

Chief Comte also recognized the clothing of MacCracken in the referenced photos as the same

identifiable clothes that are frequently worn by MacCracken in Colorado.




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       20.     This clothing includes a red hat, blue jacket with a logo on the chest, white shorts

over dark leggings, and boots:




               Known image of MacCracken              MacCracken Clothing on Jan. 6, 2021

       21.     On December 2, 2021, Chief Comte again observed MacCracken walking his dog

in Telluride; MacCracken was wearing the same identifiable clothing: red hat, blue jacket, white

shorts with black stripe on the sides, and black leggings.

                                       Assault on Federal Officers

       22.     On January 6, 2021, Washington, D.C. Metroplitan Police (MPD) Officer J.G.

was assigned on a protective, police line at the United States Capitol Building grounds. He was

wearing police-issued clothing and was identifiable as a police officer. Officer J.G. was also


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wearing a police-issued body worn camera (BWC) that was activated, capturing video footage of

interactions during this assignment.

       23.     During the civil unrest that ensued, a male individual (AFO-387) – later identified

as Avery MacCracken, as set forth above – approached Officer J.G. and engaged in physical

contact, assaulting Officer J.G. with pushes, shoves, and a strike to the face. Specifically,

MacCracken punched Officer J.G. with his closed fist in the right cheek, causing a cut to the face

under his right eye. Officer J.G. took a selfie-pic of his injuries and provided self-aid; he did not

seek other medical care.




       24.     Officer J.G.’s BWC footage was provided to the FBI and reviewed. I have

reviewed the pertinent portions of the BWC video and captured images from the video to present

herein. A portion of the video footage depicts the individual in AFO-387, identified as

MacCracken as set forth above, approaching the police line and specifically Officer J.G. While

approaching, MacCracken clinched his fists in a fighting manner, and then engaged in assaulting

Officer J.G., by pushing, tugging, and striking him in the face.




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       25.    Standing next to MPD Officer J.G. was MPD Officer H.F. BWC Footage was

also obtained from Officer H.F., which pertinent portions I have revewied. As MacCracken

moved along the police line, he also physically engaged with assaulting Officer H.F. The assault

is characterized by pushing, shoving, grabbing Officer H.F.’s arm/elbow and possibly striking

him. The BWC footage of Officer J.G. depicts some of the assault on Officer H.F. as well as the

BWC footage of Officer H.F.


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                 Travel of MacCracken from Colorado to Washington, D.C

       26.     Although MacCracken is considered a transient with no permanent place of

residence, he has been known to “reside” in the Telluride, Colorado area for several years. His

vehicle is registered in the State of Colorado and he has a Colorado driver’s license. I have

reviewed travel records pertaining to MacCracken on or around the dates before and after

January 6, 2021. MacCracken purchased airfare and on January 3, 2021, traveled via commercial

air from Montrose, Colorado to Washington D.C. MacCracken then returned to Colorado on

January 9, 2021, via commercial air, departing Washington, D.C. and arriving at Montrose,

Colorado. Montrose Regional Airport is the closest commercial airport to Telluride.

                                 Federal Violations Committed

       27.     Based on the foregoing, I submit there is probable cause to believe that

MacCracken violated 18 U.S.C. § 1752(a)(1) and (2), which makes it a crime to (1) knowingly

enter or remain in any restricted building or grounds without lawful authority to do; and (2)

knowingly, and with intent to impede or disrupt the orderly conduct of Government business or

official functions, engage in disorderly or disruptive conduct in, or within such proximity to, any

restricted building or grounds when, or so that, such conduct, in fact, impedes or disrupts the

orderly conduct of Government business or official functions; (4) knowingly engages in any act

of physical violence against any person or property in any restricted building or grounds; or

attempts or conspires to do so. For purposes of Section 1752 of Title 18, a “restricted building”

includes a posted, cordoned off, or otherwise restricted area of a building or grounds where the

President or other person protected by the Secret Service, including the Vice President, is or will

be temporarily visiting; or any building or grounds so restricted in conjunction with an event

designated as a special event of national significance.



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         28.   I believe there is probable cause to believe that MacCracken violated 18 U.S.C.

§§ 111(a)(1) and (b) - which makes it a crime to forcibly assault or interfere and aid or abet such

a forcible assault or interference, with any person designated in section 1114 of this title 18 while

engaged in or on account of the performance of official duties.

         29.   Your affiant submits there is also probable cause to believe that MacCracken

violated 40 U.S.C. § 5104(e)(2)(F), which makes it a crime to willfully and knowingly (F)

engage in an act of physical violence in the Grounds or any of the Capitol Buildings.

         30.   I submit there is probable cause to believe that MacCracken violated 18 U.S.C. §

231(a)(3), which makes it unlawful to commit or attempt to commit any act to obstruct, impede,

or interfere with any fireman or law enforcement officer lawfully engaged in the lawful

performance of his official duties incident to and during the commission of a civil disorder which

in any way or degree obstructs, delays, or adversely affects commerce or the movement of any

article or commodity in commerce or the conduct or performance of any federally protected

function. For purposes of Section 231 of Title 18, a federally protected function means any

function, operation, or action carried out, under the laws of the United States, by any department,

agency, or instrumentality of the United States or by an officer or employee thereof. This

includes the Joint Session of Congress where the Senate and House count Electoral College

votes.



                                                   Respectfully submitted,



                                                   Alex J. Zappe
                                                   Special Agent
                                                   Federal Bureau of Investigation



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Submitted, attested to, and acknowledged by reliable electronic means on December 10, 2021:
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                                                                    17:33:21 -05'00'
                                                  ___________________________________
                                                  HONORABLE ROBIN M. MERIWEATHER
                                                  UNITED STATES MAGISTRATE JUDGE




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